











Opinion issued December 4, 2003










In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-03-00586-CR
____________

MANUEL BELTRAN, JR., Appellant

V.

THE STATE OF TEXAS, Appellee




On Appeal from the 230th District Court
Harris County, Texas
Trial Court Cause No. 487001



&nbsp;
MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;This is an appeal from the trial court’s denial of appellant’s motion for
forensic DNA testing of evidence.  See Tex. Code Crim. Proc. Ann. arts. 64.01,
64.05 (Vernon Supp. 2004).  We affirm.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant’s court-appointed counsel filed a motion to withdraw as counsel
and a brief concluding that the appeal is wholly frivolous and without merit.  The
brief meets the requirements of Anders v. California, 386 U.S. 738, 744, 87 S. Ct.
1396, 1400 (1967), by presenting a professional evaluation of the record and
demonstrating why there are no arguable grounds of error to be advanced.  See High
v. State, 573 S.W.2d 807, 811 (Tex. Crim. App. 1978); Moore v. State, 845 S.W.2d
352, 353 (Tex. App.—Houston [1st Dist.] 1992, pet. ref’d).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The brief states that a copy was delivered to appellant, whom counsel
advised by letter of his right to examine the appellate record and file a pro se brief. 
See Stafford v. State, 813 S.W.2d 503, 510 (Tex. Crim. App. 1991).  More than 30
days have passed, and appellant has not filed a pro se brief.  We have carefully
reviewed the record and counsel’s brief.  We find no reversible error in the record,
and agree that the appeal is wholly frivolous.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We affirm the order of the trial court.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We grant counsel’s motion to withdraw.


  See Stephens v. State, 35 S.W.3d
770, 771 (Tex. App.—Houston [1st Dist.] 2000, no pet.). 

PER CURIAM

Panel consists of Justices Hedges, Alcala, and Hanks.

Do not publish.  Tex. R. App. P. 47.2(b).


